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                                   No. 19-4550 (L)
           ______________________________________________________________

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT
                                ______________________________

                                 UNITED STATES OF AMERICA,
                                                        Appellee,
                                            v.

                                      MICHAEL MISELIS, et al.,
                                                             Appellants.
                                 ______________________________

                           On Appeal from the United States District Court
                                  for the Western District of Virginia
                           Charlottesville Division (Hon. Norman K. Moon)
                                ______________________________

            APPELLANTS’ PETITION FOR PANEL REHEARING OR IN THE
                     ALTERNATIVE REHEARING EN BANC
                         ______________________________




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                         STATEMENT OF REASONS FOR REHEARING

              This Court should grant panel rehearing, or rehearing en banc, in this case for

        several reasons. This issue presented – the constitutionality of the federal Anti-Riot

        Act (“Act”) – is one of exceptional importance. When this appeal was argued in

        January of 2020, this question was important, but in a largely theoretical way, as the

        law had only been used to complete one successful prosecution in more than fifty

        years. The chilling effect the Act would have on legitimate speech could be imagined,

        but was not happening in real time. In the intervening nine months, the Act has been

        repeatedly invoked by the Attorney General of the United States, the President of the

        United States, and by numerous others, in response to recent civil unrest. At least 10

        prosecutions have been instigated under the Act in Illinois, Minnesota, New Jersey,

        Ohio, Tennessee, and South Carolina in the last few months, and untold other people

        and groups have been investigated for potential charges that have not yet been filed.

              The panel’s decision on severance conflicts with United States v. Stevens, 559 U.S.

        460 (2010). Further, the portion of the statute the panel opinion leaves in place is still

        overbroad and unduly vague. Finally, the panel opinion’s conclusion that the

        Appellants pled guilty to the constitutional portion of the statute conflicts with United

        States v. Chapman, 666 F.3d 220 (4th Cir. 2012).




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                                           INTRODUCTION

               The Appellants brought a facial challenge to the constitutionality of the Anti-

        Riot Act, arguing that it was both overbroad and vague. The heart of the overbreadth

        argument is that the law swept far past the incitement of imminent and likely violence

        which falls outside of First Amendment protection. The vagueness argument is

        related, but centers on several of the Act’s definitions, including the definition of riot

        itself. The panel opinion agreed in part – finding that the Act was facially overbroad

        and that it swept up a substantial amount of speech that was protected advocacy

        under Brandenburg v. Ohio, 395 U.S. 444 (1969) (per curiam). But the panel concluded

        that the instances of overbreadth were discrete and severable, and that the Appellants’

        guilty pleas conclusively established their conduct fell under the surviving applications.

               There are two fundamental problems with the analysis. First, the panel left in

        place a law that it describes as “consistent with Congress’s basic objective in enacting

        the Anti-Riot Act” which was “to proscribe, to the maximum permissible extent,

        unprotected speech and conduct that both relates to a riot and involves the use of

        interstate commerce.” Opinion p. 37. The panel assumed that because Congress

        drafted the statute to “encompass the full scope of such unprotected speech as of

        1968” it must have wanted to “enact this appropriately narrowed version of the

        statute” instead of “none at all.” Opinion p. 38. But the panel reached this

        conclusion without looking at any of the legislative history that showed Congress’s

        objective was specifically to target the speech that Brandenburg v. Ohio, 395 U.S. 444
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        (1969) protects. See Reply Br. at pp. 5-8; 26-29. Congress repeatedly explained that

        the Act was not focused on acts of violence themselves, but the events that preceded

        riots – the speaking, teaching, and agitating. Id. at pp. 28-29. For this reason, the Act

        contained an express carve-out to clarify that it was not taking jurisdiction away from

        the states to prosecute actual rioting behavior. The Act left in place by the panel

        opinion is a “new law” that has “substitute[d] the judicial for the legislative

        department of the government.” United States v. Reese, 92 U.S. 214, 221 (1876).

               But perhaps more critically, the Act this Court left in place is still so overbroad

        and vague as to have a chilling effect on legitimate speech. The definition of riot set

        forth in 18 U.S.C. § 2102(a) is unsurprisingly central to the statute. The panel opinion

        found there were no overbreadth problems in the definition of “riot” focusing on the

        clear-and-present-danger test. The panel found that the relation between “incitement

        and rioting” was governed by the verb “incite” and not the clear-and-present-danger

        test, and that there was therefore no problem with the definition. Opinion pp. 30-31.

        However, this Court did not resolve the arguments presented by the Appellants that

        the central problem with the definition of a riot is that any public assembly where

        there is the potential for actual or threatened violence counts as a riot, without regard

        for whether or not the speaker intended violence. Put in the most practical terms, any

        protest against police violence in 2020 is functionally a public disturbance that

        involves a threat of the commission of an act of violence by at least one person in a

        group of more than three people who has the ability to carry out the threat, and
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        therefore every protest qualifies as a riot whether or not violence breaks out, or the

        person planning to attend intended to participate in violent action. Therefore, under

        this Court’s interpretation of the Act, anyone who uses commerce with the intent of

        participating in, or organizing, one of these protests where violence may break out,

        and then actually attempts to participate in or organize the same, is guilty under the

        Act. The potential for conspiracy liability makes the net even broader.

                 Finally, the panel was wrong to conclude that the Appellants pled guilty to

        conspiracy to violate the portions of the Act that this Court left in place when their

        plea agreements and plea colloquies are ambiguous on this point.

            I.      The result of the panel opinion’s severance analysis is a judicially-created
                    law that Congress would not have passed.

                 After holding that the Act was substantially overbroad, Opinion p. 33, the

        panel decision turned to severability as a potential remedy. Relying on a Supreme

        Court plurality opinion decided six months after the parties briefed this case and five

        months after oral argument, the panel decision cited to Barr v. Am. Ass’n of Political

        Consultants, Inc., 140 S. Ct. 2335, 2350 (2020) which noted a “strong presumption of

        severability.” Id. Yet, unlike the Act at issue, the Telephone Consumer Protection Act

        analyzed in the Barr decision expressly included a severability clause. See 47 U.S.C. §

        608.1


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         In dicta, the Supreme Court’s plurality opinion noted that it would have also excised the offending
        portion of the Telephone Consumer Protection Act under the general “presumption of
        severability…” Barr, 140 S. Ct at 2252-53.

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               A severability clause is so important because it conclusively answers the

        question of Congress’s intent – would Congress prefer the law exist precisely as it was

        enacted, or would Congress want any unconstitutional parts removed with a partial

        law to remain. Because it is such a clear indication of Congress’s intent, “[w]hen

        Congress includes an express severability clause [ ] in the relevant statute, the judicial

        inquiry is straightforward.” Barr, 140 S. Ct. at 2349. In Barr, the Supreme Court was

        nonetheless asked to override the text of the severability clause, an argument that the

        Court described as lacking force given its modern jurisprudence emphasizing precise

        statutory text. Id. The panel decision in this case erroneously applied principles

        underlying the “straightforward inquiry” at issue in Barr to the Act here that not only

        has no severability clause, but additional distinguishing characteristics that show

        Congress would not have intended the panel’s result.

               For example, the Court in Barr also emphasized the tradition of applying

        severability doctrine to an unconstitutional portion of a statute that was added on as

        an amendment to an otherwise long-standing, and well-operating, statutory scheme.

        Id. at 2353. In these circumstances, the Court has treated the original, pre-amendment

        statute as the “valid expression of the legislative intent” and struck down only the

        constitutionally-offensive amendment. Id. (internal citation omitted). In contrast, the

        Act, including the parts that the panel decision held were substantially overbroad,

        were enacted as one statutory scheme and there is no pre-amendment statute that can

        be construed as the “valid expression of legislative intent.” Id.
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               Relying on severability as a remedy for constitutional overbreadth in this way

        invokes a serious constitutional concern about the authority of courts to invoke it as

        doing so encroaches on the prohibition of courts rewriting the law. Id. at 2365-66

        (Gorsuch, J., dissenting in part) (internal citations omitted). The panel opinion heavily

        relies on Stevens, 559 U.S. at 481 in finding the Act to be overbroad, Opinion pp. 13,

        25, 29, but does not address Stevens in the determining whether severance, or total

        invalidation, is the appropriate result. This is significant because the Act is far more

        comparable to the law in Stevens, than to the statute underlying Barr – both in the

        structure of the laws and because this case, like Stevens, involves a facial challenge to

        the constitutionality of a criminal law.

               In Stevens, the Supreme Court struck down a similarly sweeping statute on First

        Amendment overbreadth grounds. Like this case, the relevant statute did not involve

        a challenged amendment to an otherwise long-standing and well-operating statutory

        scheme. Instead, the Supreme Court considered a statute that banned “any . . .

        depiction” in which “a living animal is intentionally maimed, mutilated, tortured,

        wounded, or killed.” Id. at 474-75 (citing 18 U.S.C. § 48). The Court determined that

        only two words, wounded and killed, when considering the ordinary meaning, did not

        require cruelty (when considering, for example, responsible hunting) and therefore

        were subject to overbreadth and the chilling of legitimate First Amendment speech.

        Id. The Court properly invalidated the entire statute to avoid “rewrite[ing] a . . . law to

        conform it to constitutional requirements” because “doing so would constitute a
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        serious invasion of the legislative domain.” Id. at 481 (cleaned up, internal quotation

        omitted). Yet here the panel redlined two verbs, “promote,” and “encourage” from a

        list of five expressive conduct verbs, and further struck half of the definitions of the

        remaining three verbs from that list (“organize,” “participate in,” and “carry on”), as

        well as half of the definition of the separately listed “incite.” The right result should

        be outright invalidation, which was the appropriate remedy where even a smaller

        percentage of a criminal statute was overbroad in Stevens.

               More fundamentally, the panel erred by concluding that Congress’s basic

        objective in the Anti-Riot Act was “to proscribe, to the maximum permissible extent,

        unprotected speech and conduct that both relates to a riot and involves the use of

        interstate commerce” such that the panel had “no doubt that, if Congress could have

        foreseen the Court’s decision in Brandenburg, it would have readily preferred to enact

        this appropriately narrowed version of the statue than none at all.” Opinion at 37-38.

        The Barr plurality opinion itself noted the difficulty of gleaning Congressional intent

        absent a severance clause; “courts are not well equipped to imaginatively reconstruct a

        prior Congress’s hypothetical intent. In other words, absent a severability or non-

        severability clause, a court often cannot really know what the two Houses of Congress

        and the President from the time of original enactment of a law would have wanted if

        one provision of a law were later declared unconstitutional.” Barr, 140 S. Ct. at 2350.

               Furthermore, it is far from “evident” that the enacting Congress would have

        enacted a version of the Act “independently” of one that lacks a provision that
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        criminalizes the advocacy of the rightness of the use of force and violence, see Alaska

        Airlines, Inc. v. Brock, 480 U.S. 678, 684 (1987), when the enacting Congress used a

        double negative to expressly criminalize just that. The panel opinion agreed that “we

        find it all the more likely that the exclusion found in the final phrase of § 2102(b)

        means to attach criminal consequences to such advocacy and isn’t just indifferent to

        it.” Opinion p. 30. There is no need to guess at Congress’s intent in this case.

        Inciting a riot, organizing a riot, promoting a riot, encouraging a riot, participating in a

        riot, and carrying on a riot, all meant expressing beliefs about the right to commit acts

        of violence. Therefore, in redefining these terms, the effect is the opposite of what

        Congress clearly intended.

               Given this clear statutory language, in addition to the legislative history, there is

        no evidence that Congress would have enacted the severed version of the statute the

        panel left in place. As shown by the legislative history and origins of the Act, the

        enacting Congress did not focus the Act “on the regulation of violence. Rather, it

        focuses on pre-riot communications and actions.” United States v. Rundo, et. al., No.

        2:18-cr-759-CJC, D.E. 145 (C.D. Cal. June 3, 2019), appeal docketed, No. 19-50189 (9th

        Cir. June 12, 2019) (oral argument set for November 17, 2020) (finding the Act

        facially overbroad and invalidating it entirely, dismissing the indictments); see also

        Reply Br. pp. 5-8; 26-30. In order to not usurp the state’s interest in prosecuting mid-

        riot conduct and demonstrate its focus on pre-riot communications and actions,

        Congress expressly reserved jurisdiction over conduct that simultaneously violated the
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        Act and local laws to local authorities. 18 U.S.C. § 2101(f). And the panel implicitly

        recognized this focus on pre-riot activity by construing the Act as an attempt statute

        rather than a commission offense. Opinion p. 20.

                 The enacting Congress expressly sought to target, in its view, the speech and

        expressive conduct of outside agitators who were promoting, encouraging, and urging

        through advocacy of acts of violence and asserting the rightness of and the right to

        commit an act or act of violence. The panel’s solution – removing the speech verbs

        that have the closest fit to targeting pre-riot communications and activities – excludes

        from the reach of the Act most of the group of people that the enacting Congress

        declared to be the malevolent force that the Act would suppress. The panel decision’s

        attempt at severance is the judicially forbidden rewriting of a statute “giv[ing] it an

        effect altogether different from that sought by the measure viewed as a whole,”

        Railroad Retirement Bd. v. Alton R. Co., 295 U.S. 330, 362 (1935). The right result is

        instead to invalidate the entire Act.

           II.      The version of the Anti-Riot Act this Court left in place is still so overbroad
                    and vague as to have a chilling effect on legitimate speech
                 While the panel opinion found constitutional overbreadth in several of the

        Act’s verbs proscribing prohibited speech and conduct, the opinion rejected

        additional sources of overbreadth argued by the Appellants. Specifically, the statute

        allows for an impermissible attenuation between the formation of the intent, and a

        later overt act, Open. Br. at 20-22, and there are constitutional problems with the


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        definition of riot and the overt-act requirement of the law, Open. Br. at 13-20, 37-38.

        But even without rearguing these points, the law left in place by the panel is still so

        overbroad and vague as to chill legitimate speech.

               The panel opinion agrees that no riot need occur for a violation of the Act to

        be complete, instead construing the law as an attempt crime. Therefore, the

        defendant only need to intend to organize, participate in, or carry on an event with

        three or more people where there is a threat of violence to satisfy the intent prong –

        regardless of whether the defendant personally intends to undertake any act of

        violence, or whether the defendant wants violence to result. If a defendant, or group,

        plans to participate in any protest of police violence in 2020, there is the near certainty

        that tempers are high, and that there will be someone in that crowd that threatens

        violence. The overbreadth of the definition of violence thereby covers an incredible

        swath of legitimate protest and expression.

               Turning to the space between “organize” and “promote” – the panel finds that

        “speech tending to organize a riot serves not to persuade others to engage in a

        hypothetical riot, but rather to facilitate the occurrence of a riot that has already begun

        to take shape.” Opinion p. 26. Critically, the panel observed that in the course of

        pre-2020 prosecutions under the Act, it was the “statute’s conduct-related applications

        appear to form the basis of every reported prosecution under it.” Opinion p. 32.

        Based on recent events, this is no longer the case.



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               In May, Attorney General Barr announced that he would prosecute protesters

        who cross state lines to participate in riots, citing the Anti-Riot Act.2 Since then,

        charges under the law have been instigated against at least 9 defendants, and several

        prosecutions involve expressive speech and not conduct-related applications.3 As

        recently as September 10, 2020, a group of 50 Congressman have cited the law to urge

        an investigation into groups funding protests that turn into riots.4

               The Act left in place by the panel opinion still allows for the investigation and

        prosecution in these cases, and many more. On the latter example, “funding” a riot is

        no doubt sufficiently related to “organizing” a riot, such that search warrants could be

        obtained to investigation almost any group reported to have participated in any

        protest-turned-riot in 2020. The dramatic changes in the use of the Act in 2020

        plainly warrant reconsideration of the panel’s opinion.

            III.   The panel opinion conflicts with United States v. Chapman, 666 F.3d 220 (4th
                   Cir. 2012).

               The panel opinion found that some components of the Act are

        unconstitutional and severed them from the law, leaving other parts in place. The

        panel was wrong to conclude that the Appellants had necessarily pled guilty to the




        2
         https://www.politico.com/news/2020/05/30/william-barr-george-floyd-protests-290792
        3
         See, e.g., United States v. Avery, 4:20-mj-7180 (E.D.Mo.) (later dismissed on government motion);
        United States v. Peavy, No. 4:20-mj-6092, dkt #1 (N.D.Ohio June 5, 2020) (same)
        4

        https://buck.house.gov/sites/buck.house.gov/files/20.09.10%20Riot%20Funding%20Sources%20
        Letter%20to%20AG%20Barr-compressed.pdf

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        statutory conduct left in place when their plea agreements and plea colloquy are

        ambiguous on this point.

               In Chapman, this court analyzed the disjunctive construction of 18 U.S.C.

        § 922(g)(8)(C). This provision made it “unlawful for any person . . . who is subject to

        a court order” that either “includes a finding that such person represents a credible

        threat to the physical safety of such intimate partner or child” or “by its terms

        explicitly prohibits the use, attempted use, or threatened use of physical force against

        such intimate partner or child that would reasonably be expected to cause bodily

        injury.” 666 F.3d at 227. This Court explained that “[a]s is required, Chapman’s

        indictment alleged conjunctively the disjunctive components of § 922(g)(8)(C).” Id.

        But then held that “when a defendant pleads guilty to a formal charge in an

        indictment which alleges conjunctively the disjunctive components of a statute, the

        rule is that the defendant admits to the least serious of the disjunctive statutory

        conduct.” Id. citing United States v. Vann, 660 F.3d 771, 774 (4th Cir. 2011) (en banc).

        Because the statutory conduct set out in § 922(g)(8)(C)(ii) was the “least serious of the

        statutory conduct” the Court analyzed the constitutionality of that section as applied

        to the defendant. Id.

               Under Chapman and Vann, when the Appellants “plead[ ] guilty to a formal

        charge in an indictment which alleges conjunctively the disjunctive components of a

        statute” the rule is that the Appellants admitted only “the least serious of the

        disjunctive statutory conduct.” Id. The panel opinion’s reliance on United States v.
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        Brandon, 298 F.3d 307 (4th Cir. 2002), is misplaced. In Brandon, the defendant pled

        guilty to bank fraud under 18 U.S.C. § 1344, after filing a motion to dismiss the

        indictment, arguing that the facts alleged, if true, did not constitute bank fraud under

        § 1344 because the victim of her offense was retail merchants and not the banks. 298

        F.3d at 310. On appeal, this Court found that the indictment had sufficient alleged

        the offense and declined to consider the defendant’s argument that “her conduct does

        not qualify as ‘false or fraudulent pretenses, representations, or promises’” under

        § 1344(2) because she was sufficiently charged under § 1344(1). Id. at 314. The

        Appellants in this case raised a constitutional challenge, like that in Chapman. They did

        not argue that their conduct did not “qualify” under one of the subsections of the

        statute.

               Even if Brandon is relevant, the Anti-Riot Act is not like the bank fraud statute

        analyzed in Brandon – setting out discrete alternate conduct constituting an offense.

        The panel opinion construed the Anti-Riot Act as having “four essential elements of a

        violation”: (1) travel in or use of interstate commerce; (2) with intent (to incite,

        organize, promote, encourage, participate in, or carry on, or commit any act of

        violence in furtherance); (3) “a riot”; and (4) performance or attempted performance

        of an overt act towards any of the foregoing purposes.

               In striking “promote” and “encourage”, as well as striking part of the statutory

        definition of “incite,” “organize,” “participate in” and “carry on a riot,” this Court

        dramatically changed two elements of the law – both the intent element, and the
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        actual or attempted overt act element. While the panel opinion focuses on admissions

        regarding violent conduct in the statement of facts, the Appellants pled guilty to

        conspiring to commit the Anti-Riot Act. Nothing in the Statements of Offense

        demonstrates conclusively that the Appellants formed an agreement to violate the law

        as redlined by the panel.

                                           CONCLUSION

              For these reasons, this motion for panel rehearing, or in the alternative

        rehearing en banc, should be granted.



        Respectfully submitted this 21st day of September 2020.

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                               CERTIFICATE OF COMPLIANCE

           1. The brief of the appellant has been prepared using Microsoft Office 365

               software, Garamond font, 14 point proportional type size.

           2. EXCLUSIVE of the table of contents, table of authorities, statement with

               respect to oral argument, any addendums, and the certificate of service, this

               brief contains 3522 words and is therefore compliant with Fed. R. App. Pr.

               40(b)(1).




        I understand that a material misrepresentation can result in the Court’s striking the

        brief and imposing sanctions. If the Court so requests, I will provide an electronic

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        9/21/2020                                /s/ Lisa M. Lorish
        Date                                     Lisa M. Lorish
                                                 Assistant Federal Public Defender
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                                   CERTIFICATE OF SERVICE


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        on this 21st day of September, 2020




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